Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 1 of 30 Page ID #:5458



     1 JOSEPH H. HUNT
         Assistant Attorney General
     2 United States Department of Justice
         Civil Division
     3 SCOTT G. STEWART
         Deputy Assistant Attorney General
     4 AUGUST E. FLENTJE
         Special Counsel
     5 ERNESTO H. MOLINA, JR.
         JEFFREY S. ROBINS
     6   Deputy Directors
         Office of Immigration Litigation
     7   BENJAMIN MARK MOSS
         W. DANIEL SHIEH
     8   Senior Litigation Counsel
         MARINA C. STEVENSON
     9   ANTHONY J. MESSURI
         JONATHAN K. ROSS
    10   Trial Attorneys
         P.O. Box 878
    11   Ben Franklin Station
         Washington, D.C. 20044
    12   Telephone: (202) 616-9344
         Facsimile: (202) 305-1890
    13   Email: Ernesto.H.Molina@usdoj.gov
    14
         Attorneys for Defendants
    15
                                UNITED STATES DISTRICT COURT
    16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
    17
                                                  Case No.: 2-18-CV-05741 DMG (PLA)
          LUCAS R. et al.,
    18
                          Plaintiffs,             DEFENDANTS’ OPPOSITION TO
    19                                            PLAINTIFFS’ EX PARTE
                v.                                APPLICATION FOR A
    20
          ALEX AZAR, Secretary of U.S. Dep’t      TEMPORARY RESTRAINING
    21                                            ORDER [DKT. NO. 227]
          of Health and Human Services, et al.,
    22
                          Defendants.
    23
    24
    25
    26
    27
    28
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 2 of 30 Page ID #:5459




 1                                        TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES ................................................................................ iii
 3   I.      INTRODUCTION AND SUMMARY ......................................................... 1
 4   II.     BACKGROUND ......................................................................................... 6
 5           A. ORR’s Robust Actions ............................................................................ 6
 6           B. Plaintiffs’ TRO Motion ..........................................................................10
 7    III.   ARGUMENT..............................................................................................11
 8           A. Plaintiffs Fail to Show a Likelihood of Success on the Merits ...............12
 9               1. Plaintiffs’ TVPRA Claim Fails Because ORR is Fulfilling its
10                   Obligations Under the TVPRA by Implementing Careful Protocols in
11                   Response to COVID-19 and Plaintiffs’ Proposed Relief Would Force
12                   ORR to Violate those Obligations .....................................................12
13               2. The Relief Plaintiffs Seek is Barred by the Flores
14                   Agreement ........................................................................................15
15               3. Plaintiffs Cannot Succeed on the Merits Because the TRO that they
16                   Seek is Beyond the Scope of the Complaint’s Allegations and is
17                   Improper for Class-Wide Relief ........................................................17
18               4. Plaintiffs Fail to Show a Due-Process Violation ...............................19
19               5. Plaintiffs Fail to Show That Their Requested Relief Will Mitigate
20                   Risk of Harm from COVID-19 .........................................................21
21           B. Considerations of Harm and the Equities Cut Against a TRO ................23
22   IV.     CONCLUSION ..........................................................................................24
23
24
25
26
27
28

                                                     ii
                                       Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 3 of 30 Page ID #:5460




 1                                       TABLE OF AUTHORITIES
 2                                                      CASES:
 3
     Clark v. Bank of Am. N.A.,
 4     No. 14-14-232, 2015 WL 1433834 (D. Idaho Mar. 27, 2015) ...................... 17, 18
 5
     Committee of Cent. Am. Refugee v. INS,
 6    795 F.2d 1434 (9th Cir. 1986) ...........................................................................24
 7
     Estelle v. Gamble,
 8     429 U.S. 971 (1976) ..........................................................................................19
 9
     Flores v. Sessions,
10     No. 85-4544, 2018 WL 10162328 (C.D. Cal. July 30, 2018) ....................... 16, 17
11   Garcia v. Google, Inc.,
12    786 F.3d 740 (9th Cir. 2015) ................................................................. 11, 17, 24
13   Gonzales v. Gorsuch,
14    688 F.2d 1263 (9th Cir. 1982) ...........................................................................21
15   Los Angeles v. Lyons,
16     41 U.S. 95 (1983) ..............................................................................................21
17   L.W. v. Grubbs,
18     92 F.3d 894 (9th Cir. 1996) ...............................................................................19
19   Martin v. Int'l Olympic Comm.,
20    740 F.2d 670 (9th Cir. 1984) .............................................................................24

21   Northern Arapaho Tribe v. LaCounte,
22    Nos. 60-11 & 16-60, 2017 WL 908547 (D. Mont. March 17, 2017) ..................17

23   Orr v. Bank of America, NT & SA,
      285 F.3d 764 (9th Cir. 2002) .............................................................................10
24
25   Pac. Radiation Oncology, LLC v. Queen's Med. Ctr.,
       810 F.2d 636 (9th Cir. 2015) .............................................................................17
26
27
28

                                                     iii
                                        Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 4 of 30 Page ID #:5461




 1   Patel v. Kent Sch. Dist.,
       648 F.3d 965 (9th Cir. 2011) .............................................................................19
 2
     Reno v. Flores,
 3
       507 U.S. 292 (1993) .......................................................................... 5, 14, 19, 21
 4
     SEC v. Randolph,
 5
       736 F.2d 525 (9th Cir. 1984) .............................................................................15
 6
     Sekerke v. Leo,
 7     No.: 3:19-cv-0034-GPC-RBB, 2020 WL 619581 (S.D. Cal. Feb. 10, 2020) .....17
 8
     Vermont Agency of Nat'l Res. v. United States ex rel. Stevens,
 9     529 U.S. 765 (2000) ..........................................................................................22
10
11
12                                                   STATUTES:

13     8 U.S.C. § 1232 .................................................................................................. 1
14     8 U.S.C. § 1232(c)(2)(A) .................................................................................... 1
15
       8 U.S.C. § 1232(c)(3)(A) ............................................................... 1, 2, 12, 14, 16
16
17
18                         FEDERAL RULES OF CIVIL PROCEDURE:
19   Fed. R. Civ. P. § 56(c)(4) .....................................................................................10
20
21
                                             OTHER MATERIALS:
22
23   Flores Settlement Agreement.....................................................................2, passim
24
25
26
27
28

                                                     iv
                                        Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 5 of 30 Page ID #:5462




     1 I. INTRODUCTION AND SUMMARY
     2        This Court should deny Plaintiffs’ extraordinary request for class-wide injunctive
     3 relief. Plaintiffs’ claims lack merit, their motion rests on a mistaken view of the facts,
     4 and Plaintiffs fail to account for the many equitable and harm-related considerations
     5 that weigh strongly against the relief that Plaintiffs seek.
     6        The COVID-19 pandemic has presented tremendous challenges for our Nation.
     7 But the Executive Branch is responding to those challenges for everyone in the country
     8 and for everyone who is entitled to its protection—including for the children at issue in
     9 this case. The U.S. Department of Health and Human Service (HHS) Office of Refugee
    10 Resettlement (ORR) is carefully, thoroughly, and expeditiously safeguarding the health
    11 and interests of the unaccompanied alien children (UACs) entrusted to its care under
    12 federal law. See 8 U.S.C. § 1232. Plaintiffs’ claims in their TRO motion are not well
    13 taken and do not warrant a disruption of ORR’s careful efforts to fulfill its statutory
    14 mandate. And their request for TRO relief is fundamentally improper: The purpose of
    15 a TRO is to maintain the status quo, yet the broad and hasty relief that Plaintiffs seek
    16 would be highly disruptive and would violate the TVPRA. Indeed, the rushed and
    17 sweeping relief that Plaintiffs seek threatens to increase the risk of harm to UACs in
    18 ORR custody. The Court should deny this motion for the multiple reasons.
    19        Plaintiffs’ arguments fail on the merits. To start, far from showing that ORR is
    20 violating the Trafficking Victims Protection Act of 2008 (TVPRA), the government is
    21 complying with the TVPRA, and the relief requested by Plaintiffs would violate that
    22 statute. The TVPRA imposes robust and thorough procedures that ORR must use, all
    23 to the end of safeguarding the welfare of children in its care, which includes both its
    24 obligation to safely and expeditiously release children to approved sponsors under 8
    25 U.S.C. § 1232(c)(3)(A) and to maintain safe custody of those children under 8 U.S.C.
    26 § 1232(c)(2)(A). ORR’s procedures are suited to safeguard these interests during the
    27 COVID-19 pandemic. In fulfilling its TVPRA obligations for safe custody, ORR
    28 maintains rigorous protocols for handling infectious diseases for children in care,

                                                   -1-
                                       Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 6 of 30 Page ID #:5463




     1 including mandatory staff training requirements, isolation capabilities across ORR’s
     2 network of care providers that are suitable for housing children, hygiene education, and
     3 medical screenings. See ORR Guide § 3.4.6. ORR also issued extensive field guidance
     4 on the COVID-19 pandemic to its care provider network on March 2, March 13, March
     5 19, March 20, and March 23, which implements important safety measures such as
     6 mandatory temperature checks for children and visitors; placement and travel
     7 restrictions to and from at-risk facilities; and heightened medical care. See Ex. R-W.
     8        Against the backdrop of ORR’s intensified efforts to protect the health and well-
     9 being of UACs in its care and custody during the COVID-19 pandemic, Plaintiffs’
    10 miscalculated assertions of injury have led them to ask that this Court impose a
    11 truncated and unlawful standard for release of those children (to un-vetted sponsors)
    12 and require administrative hearings for all denied sponsors where ORR would need to
    13 affirmatively prove that a sponsor would harm or neglect a child to avoid release. Br.
    14 21; Pls. Proposed Order 41. That relief would upend the TVPRA’s requirement of safe
    15 reunification, which requires that the sponsor be “capable of providing for the child’s
    16 physical and mental well-being.” 8 U.S.C. § 1232(c)(3)(A). The unsubstantiated claims
    17 of harm that Plaintiffs allege do not justify the far-sweeping relief they seek. Plaintiffs
    18 disregard that the COVID-19 response requires flexibility as the situation develops and
    19 given the varying circumstances in different parts of the country. Plaintiffs filed an
    20 emergency TRO motion without any real effort to understand the significant actions
    21 being taken by ORR in response to this fast-developing challenge. And Plaintiffs
    22 indiscriminately lump all congregate-care facilities together, irrespective of size,
    23 location, and set-up. These differing circumstances show that class-wide resolution
    24 would override the discretion ORR and care facilities need to manage this developing
    25 and changing crisis across the country to protect children and would disregard ORR’s
    26 statutory obligations of safe and expeditious relief.
    27        Plaintiffs’ TRO request also conflicts with the Flores Settlement Agreement.
    28 Flores resolved due-process claims concerning the medical care of minors in custody

                                                   -2-
                                      Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 7 of 30 Page ID #:5464




     1 as well as release standards and procedures. Plaintiffs cannot bring claims here alleging
     2 that these policies and procedures violate the Due Process Clause; these claims are
     3 barred by res judicata. If there are concerns that Flores is now being violated, those
     4 claims must proceed in a Flores enforcement action.            Plaintiffs cannot avoid that
     5 limitation by asserting that their claims have been brought exclusively under the
     6 TVPRA or that the TVPRA (or Flores) creates rights that they can enforce under the
     7 Due Process Clause. As this Court has held, the TVPRA is coextensive with Flores
     8 when it comes to release provisions. And the Agreement’s care provisions are far more
     9 detailed than the TVPRA and ORR, under this Court’s ruling, provides medical care
    10 that seeks compliance with applicable state laws. Plaintiffs should be precluded from
    11 arguing here that the medical care standards they negotiated for, and agreed to, in Flores
    12 are insufficient. If Plaintiffs are no longer satisfied with their negotiated and agreed-to
    13 rights under Flores, then they should seek to amend that agreement. Having not done
    14 so, their claims should fail because Plaintiffs cannot here claim that the medical care
    15 being provided does not comply with the Flores Settlement Agreement.
    16        All of Plaintiffs’ TRO merits arguments also fail because none of the facts
    17 relevant to their TRO request are pleaded in their operative (first amended) complaint
    18 (“complaint” or “Compl.,” ECF No. 80), and thus none of the certified classes are
    19 appropriate to address their new allegations of injury.         The complaint makes no
    20 allegations about any of the protocols that ORR has implemented to protect those in its
    21 care and custody from COVID-19, or the general conditions, cleanliness, or medical
    22 treatment inside any of ORR’s grantee care facilities where UACs reside while awaiting
    23 unification with a safe sponsor. And notably, the operative complaint does not seek to
    24 address    “extraordinary circumstances” like COVID-19—rather, it seeks an
    25 administrative appeal for minors denied unification to otherwise qualified sponsors
    26 under the TVPRA. Compl. ¶¶ 179-90. Plaintiffs are thus attempting to bring, by TRO
    27 motion, new claims based on new facts to seek new relief. Plaintiffs must file a new
    28 complaint and withstand the rigorous class-certification procedures before being

                                                   -3-
                                      Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 8 of 30 Page ID #:5465




     1 granted this relief. Given the widely varying circumstances presented by COVID-19,
     2 and the quickly changing crisis, class resolution very likely would not be appropriate if
     3 it were sought. But in any event, certification of a class for their original claims does
     4 not provide roving authority to obtain class-wide oversight on any issue of concern.
     5         Even if Flores were disregarded and Plaintiffs could obtain TRO relief in this
     6 case on a due-process theory, Plaintiffs fail to show a due-process violation arising from
     7 either a lack of adequate medical care or unsafe conditions. The extensive measures
     8 that ORR has taken in coordination with the CDC and other components of HHS
     9 confirms the contrary. ORR has gone to extraordinary lengths to care for children in a
    10 profoundly challenging situation, while also fulfilling its statutory mandate under the
    11 TVPRA for expeditious release of children to custodians who will care for them,
    12 implementing measures both to prevent the spread of COVID-19 and provide
    13 appropriate medical care in the case of infection. ORR: (1) has stopped placements in
    14 New York, California, and Washington; (2) has limited air travel to local placements;
    15 (3) requires all care providers to conduct temperature checks for every UAC in care
    16 twice each day; (4) elevates all medical cases with flu-like symptoms; (5) maintains
    17 medically appropriate isolate capabilities at all of its shelters; and (6) restricts access to
    18 all visitors who display either an elevated temperature or flu-like symptoms. See Ex.
    19 Q-W. For medical care, ORR provides all UACs with testing at the recommendation
    20 of medical personnel, has full-time medical staff on-site, and isolates anyone who either
    21 tests positive or is suspected of exposure to the COVID-19 virus. Id. ORR is continuing
    22 to monitor the fast-developing situation, and will make further changes to policies as
    23 warranted. See e.g., Ex. R at 1. These measures show neither a violation of the Due
    24 Process Clause’s requirement for adequate medical care, nor deliberate indifference to
    25 protecting the safety and well-being of minors in its custody.
    26         Plaintiffs also fail to show how their alleged injury would be redressed by the
    27 relief they seek. They provide no explanation of how the relevant actors could safely
    28 undertake Plaintiffs’ proposed mass transit, within days, of hundreds of children across

                                                    -4-
                                       Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 9 of 30 Page ID #:5466




     1 the country at a time when public transportation is halted or severely restricted given
     2 the risks it poses to travelers and others. Nor have they shown why release to un-vetted
     3 sponsors who may have differing home situations would be safer than remaining in a
     4 facility with a medical staff on call 24 hours a day in conjunction with the normal
     5 TVPRA vetting process that Congress required. And Plaintiffs have not shown that
     6 their demand for administrative hearings during a time of strained resources for ORR
     7 would redress the harm that they allege. Plaintiffs’ requested additional procedures are
     8 not required under the Due Process Clause, as explained in Reno v. Flores, 507 U.S.
     9 292, 303 (1993), and would take crucial agency employees away from the vital task of
    10 releasing children to vetted sponsors and keeping them safe and healthy in the
    11 meantime.
    12        The remaining injunctive factors weigh against the extraordinary remedy that
    13 Plaintiffs seek. As explained, Plaintiffs have not shown on a class-wide basis that every
    14 child in ORR care faces the same or a substantially similar risk of injury, given the
    15 significant differences in size, location, and capacity across ORR’s network of care
    16 providers. Indeed, most of ORR’s facilities are operating far below capacity, facilitating
    17 practices recommended by the CDC such as social distancing. Plaintiffs’ claims of
    18 harm rely on guidance issued to prisons and jails, not congregate-care facilities housing
    19 children that often have to take account of many other factors such as whether the
    20 children, who are always in some form of custody, have a safe home in which to be
    21 placed. Even then, ORR’s efforts to mitigate the risks of COVID-19 meet or exceed
    22 those that the CDC recommends for other types of congregate-care facilities. Ex. AA
    23 ¶ 20. Nor have Plaintiffs shown that the public interest weighs in their favor given the
    24 operational reality of what they seek would entail. Plaintiffs’ dangerous proposal
    25 potentially involves transporting hundreds or thousands of children across the country,
    26 contrary to the CDC’s shelter-in-place guidance, to un-vetted potential applicants, some
    27 of whom are strangers to the child, along with requiring ORR to implement potentially
    28 hundreds of administrative hearings for the remaining children during a pandemic.

                                                  -5-
                                      Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 10 of 30 Page ID
                                 #:5467



  1 II.    BACKGROUND
  2        A. ORR’s Robust Actions
  3        Defendants’ official response to COVID-19 dates at least to January 31, 2020,
  4 when the Secretary of Health and Human Services declared COVID-19 a public health
  5 emergency. See Ex. AA ¶ 13. From the first appearance of COVID-19 in the United
  6 States, ORR has monitored the developing public health situation, including both
  7 federal and state mandates applicable to the jurisdictions in which ORR grantee care
  8 provider facilities—the locations where UAC in ORR custody and care reside—
  9 operate. Id. ¶ 17-18. ORR has provided the facilities with regular updates on infection
 10 prevention and control protocols, and has issued guidance on the screening and
 11 management of potential COVID-19 exposure among UACs, facility personnel, and
 12 visitors, consistent with official guidance from the Center for Disease Control (CDC),
 13 an agency of the Department of Health and Human Services. Id.
 14        ORR is equipped to deal with viral and bacterial outbreaks. It has years of
 15 experience in identifying, containing, and treating contagious diseases, including
 16 seasonal influenza (flu), measles (rubella), mumps (parotitis), chicken pox (varicella),
 17 and tuberculosis. See Ex. Q ¶ 15. Even before the spread of COVID-19, ORR was
 18 ahead of the curve in developing protocols, policies, and experience relating to
 19 infectious disease containment. See id.
 20        ORR’s policies relating to managing communicable diseases are extensive,
 21 including policies requiring routine assessment of travel history when a child arrives at
 22 a care provider program, as well as medical screenings and vaccinations within 48
 23 hours; ability to isolate or quarantine individuals for infectious disease control; hand
 24 hygiene and respiratory etiquette educational efforts; and established communicable
 25 disease reporting to the local health authority. Ex. Q ¶ 16 (citing ORR Policy Guide §
 26 3.4.6 (Management of Communicable Diseases); § 3.4.7 (Maintaining Health Care
 27 Records and Confidentiality)).
 28

                                               -6-
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 11 of 30 Page ID
                                 #:5468



  1        Even accounting for its significant experience successfully managing
  2 communicable diseases, ORR’s response to COVID-19 remains highly responsive and
  3 adaptable to the particular challenges of COVID-19. See Ex. Q ¶ 14, 17. To enhance
  4 its efforts to prevent the risk of exposure to COVID-19, ORR has mandated that all
  5 visitors and staff seeking to enter any grantee care provider facility must answer
  6 COVID-19 screening questions and submit to a mandatory temperature check. Id. ¶ 18.
  7 Except for UACs being processed for admission to the particular facility, grantee care-
  8 provider facilities are required to deny access to anyone who has a fever of 100℉ or
  9 above; who exhibits symptoms of an acute respiratory infection; who has had contact
 10 with someone with a confirmed COVID-19 diagnosis in the previous 14 days; who has
 11 been tested for COVID-19 and is awaiting test results; or in the previous 14 days, has
 12 traveled to an area identified by the CDC as having widespread, sustained community
 13 transmission of COVID-19. Id. All UACs entering ORR care are screened for COVID-
 14 19 exposure or symptoms consistent with CDC COVID-19 guidelines. Id. ¶ 19. UACs
 15 at risk of COVID-19 exposure based on reported travel history, but without symptoms,
 16 are quarantined and monitored for 14 days. Id. ¶ 20. UACs who exhibit COVID-19
 17 symptoms will be isolated and tested in consultation with the local health authority. Id.
 18         Alongside measures to prevent exposure to COVID-19, ORR has instituted a
 19 rigorous monitoring regime to assure that any UAC who exhibits symptoms of COVID-
 20 19 is identified and appropriately isolated in consultation with the local health authority.
 21 Ex. Q ¶ 20-21. During this time in isolation, a child receives the same services as non-
 22 isolated peers in the same facility, which includes recreation and counseling, with
 23 adjustments—particularly to education services—to accommodate proper infection-
 24 control procedures. Id. ¶ 28. ORR has also required that each grantee care-provider
 25 facility monitor the temperature of every UAC in care. Id. ¶ 22. Children’s temperatures
 26 are recorded twice daily. Id. If any UAC has a temperature above 100℉, the grantee
 27 care provider must immediately alert ORR, and must do so each day any child has a
 28 temperature over 100℉. Id. Further, any UAC who exhibit symptoms consistent with

                                                -7-
                                    Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 12 of 30 Page ID
                                 #:5469



  1 COVID-19 will be immediately isolated and referred for evaluation by a licensed
  2 medical provider, in consultation with local health authorities, and tested for COVID-
  3 19, if that is the health provider’s guidance. Id. ¶ 23.
  4        The isolation procedures are the same for any UAC determined to be at risk for
  5 COVID-19 exposure or infection. Ex. Q ¶ 24. More specifically, the affected UAC
  6 will be provided a private room, with a closed door and bathroom access, preferably a
  7 private bathroom that is not used by others. Id. State and local health officials, along
  8 with ORR’s health division, are notified and consulted for additional guidance on risk
  9 assessment, symptom monitoring, and isolation/quarantine. Id. Any facility personnel
 10 who enter an occupied isolation room are required to wear personal protective
 11 equipment, including an N95 respiratory mask and goggles or a face shield, per CDC
 12 guidelines. Id. ¶ 25. If a UAC in isolation needs to leave the isolation room for any
 13 reason (e.g., to use the bathroom, to attend a medical appointment, etc.), the UAC must
 14 wear a surgical mask. Id. ¶ 26. If a UAC needs to be transported to a health clinic or
 15 other off-site location, the facility must notify the local health department for guidance
 16 on proper precautions during transport. Id. ¶ 27. The facility is also required to alert
 17 the intended destination in advance so proper infection control measures may be
 18 undertaken. Id. UACs are required to remain in isolation until cleared by appropriate
 19 health officials. Id. ¶ 28.
 20        Besides extensive procedures to limit exposure to individual facilities and
 21 address and treat any affected UAC who may have COVID-19, ORR has also
 22 implemented further protocols to limit the overall risk of spreading COVID-19. ORR
 23 has stopped the placement of UAC at grantee care facilities in California, New York,
 24 and Washington due to COVID-19 outbreaks among the general public in those states.
 25 Ex. Q ¶ 32. ORR continues to monitor applicable state guidance to determine whether
 26 conditions warrant the suspension of placements in any particular locale, and will make
 27 changes as circumstances require. Id. Further, ORR prioritizes local facility placements
 28 for UACs in order to limit the need for travel on commercial airliners, but may use

                                                -8-
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 13 of 30 Page ID
                                 #:5470



  1 commercial airliners to reunify a UAC with a sponsor, if it is safe to do so. Id. ¶ 33.
  2 Care providers must assess the safety of the UAC’s ultimate destination, to anticipate
  3 logistical issues associated with COVID-19 disruptions. Id. Care providers also must
  4 consult with a Federal Field Specialist (who is an ORR employee) if a UAC will be
  5 traveling to a jurisdiction with widespread COVID-19 community transmission and
  6 resulting shelter-in-place order. Id. In such cases, release should be postponed until it
  7 is safe for the UAC to travel. Id.
  8        Before the outbreak, ORR had been working on a telehealth initiative to increase
  9 UAC access to healthcare resources. Ex. Q ¶ 34. In light of orders restricting movement
 10 in New York and California, ORR rolled out its telehealth program in those locations
 11 ahead of schedule in order to ensure care provider facilities are able to provide UACs
 12 with access to medical care without leaving facilities. Id.
 13        As of March 26, 2020, there were four confirmed cases among UACs in ORR
 14 care provider facilities. Ex. Q ¶ 35. All four cases were in a single facility in New York
 15 State, and the affected UACs are currently in isolation, per ORR and CDC guidelines,
 16 and are receiving appropriate monitoring and medical care. Id. Eighteen UACs in the
 17 care provider network had been tested, with at least eleven returning negative results.
 18 Ex. Q ¶ 36. While the tests were pending, pursuant to CDC Guidance, any UAC who
 19 had undergone COVID-19 testing was considered presumptively positive until results
 20 are available (usually, within three or four days after testing). Ex. Q ¶ 37. Eight
 21 program staff/contractors or foster parents at five care-provider programs located in
 22 New York, Washington, and Texas have self-reported testing positive for COVID-19.
 23 ORR’s medical team and the affected programs have worked in close coordination with
 24 the local public-health departments on appropriate public-health measures, which
 25 typically involve self-quarantine at home, and the tracking and monitoring of the
 26 affected staff members’ contacts within the care-provider facility, per CDC guidance.
 27 Ex. Q ¶ 38. The protocols discussed above are in place to prevent the further spread of
 28

                                               -9-
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 14 of 30 Page ID
                                 #:5471



  1 COVID-19, and ORR is providing medical care to those affected children. See Ex. Q
  2 ¶ 39.
  3         CDC has issued guidance on COVID-19 containment in various congregate
  4 settings, including colleges, nursing homes, prisons, and homeless shelters. Ex. Q ¶ 36.
  5 ORR considered the CDC guidance when developing its own COVID-19 procedures,
  6 vetted its COVID-19 procedures with CDC, and understands that public health experts
  7 at CDC agree that the ORR procedures are consistent with CDC guidance. Id. Indeed,
  8 CDC has advised that “ORR’s current COVID-19 procedures are consistent with CDC
  9 guidances for congregate settings; they direct grantee care-provider facilities to
 10 implement both containment and mitigation measures. In some respects, ORR’s current
 11 COVID-19 procedures actually exceed those set forth in the CDC guidances to
 12 congregate care facilities.” Ex. AA ¶ 20.
 13          B. Plaintiffs’ TRO Motion
 14         Plaintiffs filed their TRO papers on March 25. Plaintiffs acknowledge that in
 15 light of the COVID-19 pandemic, ORR recently adopted safety measures for its
 16 congregate-care facilities and the unaccompanied minors in ORR care. Pl. Br. 7-
 17 8. They claim, however, that ORR guidelines fail to comply with safety measures
 18 from CDC and the medical community. Br. 8. Plaintiffs suggest that “ORR Guidance
 19 makes no mention of requiring or encouraging social or physical distancing between
 20 children or staff, nor of limiting the gathering of groups of children or staff within
 21 facilities.” Br. 8-9 (citing Graves Decl.; Wang Decl.; Ex. K). 1 And they suggest that
 22
      1
        The materials submitted with Plaintiffs’ TRO request should be given minimal
 23   weight. See Orr v. Bank of America, NT & SA, 285 F.3d 764, 773-74 (9th Cir. 2002);
 24   L.R. 7-6, 7-7 (mandating that the declarations “shall contain only factual, evidentiary
      matter and shall conform as far as possible to the requirements of Fed. R. Civ. P.
 25
      56(c)(4).”). Plaintiffs’ declarations are replete with hearsay and speculation,
 26   improperly attempt to lay the foundation necessary for expert opinion, and are of
 27   tenuous relevance to litigation involving UACs in shelters. E.g., Meyers Decl.
      (prisons and jails); Graves Decl. (populations other than ORR children). These and
 28   other exhibits present no factual evidence or expert opinion upon which the Court
                                                - 10 -
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 15 of 30 Page ID
                                 #:5472



  1 ORR’s COVID-19 guidelines “fall far below federal, state, and local mandates to
  2 reduce the spread of COVID-19,” highlighting states’ general “shelter in place”
  3 orders, as well as protocols for homeless shelters and prisons. Br. 10-12 (citations
  4 omitted). Plaintiffs do not cite any state guidance requiring congregate care facilities
  5 to release all children in care, nor could they. See Ex. X-Y (NY and CA guidance for
  6 children to remain in congregate care).
  7          Plaintiffs allege that Defendants are in violation of the TVPRA by continuing
  8 to hold unaccompanied minors in shelters, specifically in instances where they have
  9 viable sponsors. Br. 13-16. They also claim that ORR is violating the terms of the
 10 Flores Settlement Agreement by not releasing UACs to remain in its care, alleging
 11 that said facilities are both unsafe and unsanitary. Br. 17. And they claim ORR
 12 violated UACs’ procedural and substantive due-process rights by exposing them to
 13 dangerous conditions. Br. 18-22.
 14       Finally, Plaintiffs claim that because of “the rapid spread of COVID-19 across
 15 the country and the impossibility of maintaining proper social distancing in ORR
 16 congregate care facilities, Class Members face an unacceptable risk of contracting
 17 COVID-19 in ORR custody.” Br. 23. They ask the Court to enter a TRO ordering
 18
      the immediate release of hundreds of UACs from congregate care.
 19
      III.    ARGUMENT
 20
             The Court should deny Plaintiffs’ TRO motion. “When ‘a plaintiff has failed
 21
      to show the likelihood of success on the merits, [the Court] need not consider the
 22
      remaining three [elements]” for TRO relief. See Garcia v. Google, Inc., 786 F.3d 733,
 23
      740 (9th Cir. 2015) (en banc) (internal quotations and formatting omitted). Plaintiffs
 24
 25
       should rely in finding facts. Finally, all of Plaintiffs’ exhibits that focus on the nature
 26    and infectiousness of COVID-19 (see, e.g., Ex. B; Ex. C; Ex. E) should be afforded
 27    minimal weight compared with evidence from HHS, which houses true authorities:
       the Centers for Disease Control and the Assistant Secretary for Preparedness and
 28    Response.
                                                 - 11 -
                                     Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 16 of 30 Page ID
                                 #:5473



  1 cannot make this showing. And considerations of harms and the equities strongly cut
  2 against a TRO, particularly where the sweeping and rushed relief that Plaintiffs seek
  3 threatens to increase harm to the UACs in ORR’s care. Finally, Plaintiffs’ request for
  4 relief is fundamentally improper. The purpose a TRO or preliminary injunction “is
  5 merely to preserve the relative positions of the parties until a trial on the merits can be
  6 held.” University of Texas v. Camenisch, 451 U.S. 390, 395 (1981). Yet the relief
  7 that Plaintiffs seek would not maintain the status quo: it would disrupt the status quo
  8 and violate federal law.
  9        A. Plaintiffs Fail to Show a Likelihood of Success on the Merits
 10          1.    Plaintiffs’ TVPRA Claim Fails Because ORR is Fulfilling its
                   Obligations Under the TVPRA by Implementing Careful Protocols
 11                in Response to COVID-19 and Plaintiffs’ Proposed Relief Would
 12                Force ORR to Violate those Obligations
 13        ORR is addressing the challenges presented by COVID-19 consistently with the
 14 TVPRA’s requirements. The TVPRA imposes robust and thorough procedures on
 15 ORR, all to the end of safeguarding the welfare of children in its care, which includes
 16 both its obligation to safely and expeditiously release children to approved sponsors
 17 under 8 U.S.C. § 1232(c)(3)(A), and to maintain safe custody of those children under
 18 Section (c)(2)(A). ORR’s procedures are particularly suited to safeguard these interests
 19 during the COVID-19 pandemic. In fulfilling its TVPRA obligations, ORR maintains
 20 rigorous protocols for handling infectious diseases for children in care, including
 21 mandatory staff training requirements, quarantine capabilities across ORR’s network of
 22 care providers that are suitable for housing children, hygiene education, and medical
 23 screenings. See ORR Guide § 3.4.6. These procedures were formalized in 2015, but
 24 have been in place even longer. To further ensure the safety of children in care, ORR
 25 also issued extensive field guidance on the COVID-19 pandemic to its care provider
 26 network on March 2, March 13, March 19, March 20, and March 23, which implements
 27 important safety measures such as mandatory temperature checks for children and
 28 visitors; placement and travel restrictions to and from at-risk facilities; and heightened

                                                - 12 -
                                    Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 17 of 30 Page ID
                                 #:5474



  1 medical care. See Ex. R-W. These guidelines are consistent with the approaches of
  2 state child welfare agencies who have children in congregate care, including New York
  3 and California, two epicenters of the COVID-19 pandemic. See Ex. X-Y.
  4        Plaintiffs therefore misfire in contending that COVID-19 precautions are “all but
  5 impossible” for children in ORR congregate care.          Nor have they explained why
  6 management of ORR grantee facilities should work differently from the many other
  7 types of congregate care facilities like nursing homes and long-term care facilities in
  8 the United States. They cite CDC Guidance used for jails and prisons, but the CDC has
  9 recognized that appropriate COVID-19 measures can be implemented at certain
 10 congregate care settings, including nursing homes and long-term care facilities.
 11 https://www.cdc.gov/coronavirus/2019-ncov/healthcare-facilities/prevent-spread-in-
 12 long-term-care-facilities.html; see also Ex. AA ¶ 17-18, 20 (CDC declaration).
 13        In contending that ORR is violating the TRO (Br. 13-17), Plaintiffs fail to account
 14 for these significant measures that ORR has taken. And the arguments they do make
 15 lack merit. Plaintiffs principally contend that continuing to keeping the UACs at issue
 16 in custody for more than 30 days violates the TVPRA’s prompt-placement mandate
 17 because those children “have family or other custodians available to receive them” and
 18 “[t]hirty days should be more than enough for ORR to assess post-release risk” to them.
 19 Br. 13-14, 16-17; see also Br. 13-17. The TVPRA erects no 30-day requirement, and
 20 Plaintiffs have provided no factual basis for grafting one into the statute when Congress
 21 has not spoken. Rather, Plaintiffs’ claims are based on mere speculation and hypothesis,
 22 citing no evidence that a significant number of periods longer than 30 days are due to
 23 improper reasons.
 24        Plaintiffs also suggest that ORR takes longer than 30 days to release the children
 25 at issue because of “discretionary investigatory measures” or “administrative
 26 inefficiency or indifference” and that such grounds are inadequate in the circumstances
 27 here. See Br. 15-16. But Plaintiffs cite no evidence to show that those reasons apply to
 28 the UACs here—let alone uniformly or on a class-wide basis. And the evidence shows

                                               - 13 -
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 18 of 30 Page ID
                                 #:5475



  1 otherwise, as Plaintiffs are aware given their regular Flores updates on ORR’s
  2 population in care.
  3        Indeed, far from showing that ORR is violating the TVPRA, the relief that
  4 Plaintiffs request itself squarely conflicts with the TVPRA. Plaintiffs ask that the Court
  5 order ORR to release a child “[a]bsent good cause based on articulable facts that
  6 available custodian(s) would harm or neglect a class member, or that an individual class
  7 member presents an articulable danger to the public.” Pls. Proposed Order 1. But this
  8 standard conflicts with the TVPRA. The standard states that ORR “may not” place a
  9 minor with a proposed custodian “unless” ORR determines that the “proposed custodian
 10 is capable of providing for the child’s physical and mental well-being,” which “at a
 11 minimum” “shall include verification of the custodian’s identity and relationship to the
 12 child, if any, as well as an independent finding that the individual has not engaged in
 13 any activity that would indicate a potential risk to the child.” 8 U.S.C. § 1232(c)(3)(A)
 14 (emphasis supplied). Plaintiffs ask ORR to release “[a]bsent good cause based on
 15 articulable facts that available custodian(s) would harm or neglect a class member, or
 16 that an individual class member presents an articulable danger to the public.” Pls.
 17 Proposed Order at 1 (emphasis supplied). That is, instead of demonstrating the ability
 18 to provide for the child, Plaintiffs request there simply be no articulable evidence the
 19 applicant sponsor would harm the child.
 20        Plaintiffs also ask the Court to direct ORR to provide an administrative hearing
 21 to all applicants for whom a determination has not yet been made. Pls. Proposed Order
 22 1. Such a hearing would consist of the right to examine evidence, an opportunity to
 23 submit evidence, and a hearing. Id. at 1-2. But Congress did not provide these rights
 24 in the TVPRA. (And the Supreme Court has already said these are not required by the
 25 Due Process Clause, see Reno v. Flores, 507 U.S. 292, 303 (1993) (rejecting an asserted
 26 “right to an individual hearing on whether private placement would be in the child’s
 27 ‘best interests’” when “institutional custody (despite the availability of responsible
 28

                                               - 14 -
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 19 of 30 Page ID
                                 #:5476



  1 private custodians) is not unconstitutional in itself.”).) There is no basis for engrafting
  2 such requirements onto the procedures here.
  3        It is true that as of March 26, 2020, there have been four confirmed COVID-19
  4 cases among UACs in one ORR care provider facility in New York. Ex. Q ¶ 35. But
  5 ORR has been addressing those cases with care and expedition, including providing
  6 immediate testing of every individual suspected of exposure, quarantine, and following
  7 CDC guidance. And importantly to the current motion seeking class-wide relief, there
  8 are no cases elsewhere in the network, and Plaintiffs have not shown that all UACs in
  9 ORR custody are at similar risk of injury. Indeed, children in ORR care are not located
 10 in just one uniform facility, and children are not all released to comparable homes.
 11          2.     The Relief Plaintiffs Seek is Barred by the Flores Agreement
 12          Plaintiffs contend that ORR has violated the Flores Settlement Agreement (Br.
 13 17-18), but the request for a TRO conflicts with the Agreement. As this Court knows,
 14 that Agreement remains in force and resolved due-process claims relating to the medical
 15 care of minors while in custody as well as standards and procedures for their release.
 16 See Flores Settlement Agreement ¶¶ 14, 15A, 17; Flores v. Sessions, 2018 WL
 17 10162328 (C.D. Cal. July 30, 2018) (rejecting effort to impose additional release
 18 procedures under Flores Agreement or TVPRA). Plaintiffs are “members of the class
 19 protected under the settlement in Flores.” Compl. ¶ 2; Order (Nov. 2, 2018).
 20 Accordingly, Plaintiffs cannot bring claims here alleging that the policies for providing
 21 medical care and policies and procedures for release of minors violate the Due Process
 22 Clause. See SEC v. Randolph, 736 F.2d 525, 528 (9th Cir. 1984) (consent decrees have
 23 the force of res judicata). Instead, if there are concerns that the Flores Agreement is
 24 now being violated, those claims must proceed in an enforcement action in the Flores
 25 litigation. See Order (Nov. 2, 2018) (“the interests of judicial economy counsel against
 26 permitting them to enforce the Flores Agreement in this action”); id. (citing cases laying
 27 out the “prohibition on duplicative actions”).
 28

                                               - 15 -
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 20 of 30 Page ID
                                 #:5477



  1         Plaintiffs cannot avoid that limitation by asserting that their claims have been
  2 brought exclusively under the TVPRA or that the TVPRA (or Flores Agreement)
  3 creates rights that they can now enforce under the Due Process Clause. As this Court
  4 has held, the TVPRA is coextensive with the Flores Agreement when it comes to release
  5 provisions, as “[b]oth the TVPRA and the Flores Agreement allow ORR to determine
  6 a proposed sponsor’s suitability” and in this respect “the Ninth Circuit noted that the
  7 TVPRA’s suitability requirements mirror their counterparts in the Agreement.” Flores,
  8 2018 WL 10162328, at *2 (citing Flores, 862 F.3d at 878). The Flores Agreement
  9 resolved claims relating to the procedures for release, and Plaintiffs should not be re-
 10 litigating those procedures here. See id. And under the TVPRA, ORR “may not”
 11 release unless it determines that the potential custodian is capable of caring for the
 12 minor’s physical and mental well-being. The evaluation “shall, at a minimum, include
 13 verification of the custodian’s identity and relationship to the child, if any, as well as an
 14 independent finding that the individual has not engaged in any activity that would
 15 indicate a potential risk to the child.” 8 U.S.C. § 1232(c)(3)(A). The statute thus both
 16 mandates an affirmative determination and vests the responsibility in ORR. Plaintiffs
 17 have no basis for departing from that.
 18         And the care provisions of the Flores Settlement Agreement—in Exhibit 1 to that
 19 Agreement—are far more detailed than the TVPRA. See 2014 WL 7152078 (describing
 20 the medical care that must be provided to UAC). In its July 30, 2018 order, however,
 21 the Flores Court ruled that this Exhibit requires medical care that complies with
 22 applicable state laws. See Order 3 n.5. Plaintiffs should be precluded from arguing here
 23 that the standards of medical care they negotiated for, and agreed to, in Flores are
 24 insufficient. If Plaintiffs are no longer happy with their negotiated and agreed-to rights
 25 under Flores, then they should seek amendment of that agreement either through
 26 negotiations with the government or from the Court. See Flores v. Sessions, No. 85-
 27 4544, ECF No. 455, at 7 (C.D. Cal. July 9, 2018) (denying the government’s motion to
 28 amend the agreement, but noting that “the parties are always free to meet and confer

                                                - 16 -
                                    Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 21 of 30 Page ID
                                 #:5478



  1 regarding any contractual amendments on which they can mutually agree”). Further, as
  2 we explain, their claims that ORR has violated paragraph 9 of the Flores Agreement by
  3 failing to provide “suitable living accommodations” fails on the merits (Br. 17-18), as
  4 ORR’s COVID-19 protocol and procedures fully comply with existing CDC and state
  5 and local guidance, see supra 12-13, infra 18-20 (¶ 12 does not apply, because it
  6 pertains to conditions following apprehension and not for ORR licensed facilities).
  7           3.     Plaintiffs Cannot Succeed on the Merits Because the TRO that they
                     Seek is Beyond the Scope of the Complaint’s Allegations and is
  8                  Improper for Class-Wide Relief.
  9
            Plaintiffs TRO fails for a further independent reason. To qualify for injunctive
 10
      relief, Plaintiffs must also show a sufficient nexus between the injury claimed in the
 11
      motion and the conduct alleged in the underlying complaint. See Pac. Radiation
 12
      Oncology, LLC. v. Queen’s Med. Ctr., 810 F.3d 631, 636 (9th Cir. 2015); see also
 13
      Garcia v. Google, inc., 786 F.3d 733, 744 (9th Cir. 2015) (because of a “mismatch”
 14
      between the plaintiff’s substantive copyright claim and the dangers she hoped to remedy
 15
      through an injunction, the district court did not abuse its discretion in denying Garcia’s
 16
      request for a preliminary injunction). To that end, courts have denied motions for
 17
      injunctive relief that are based on allegations and claims for relief that are beyond the
 18
      scope of the complaint. In Sekerke v. Leo, No.: 3:19-cv-0034-GPC-RBB, 2020 WL
 19
      619581, at *9 (S.D. Cal. Feb. 10, 2020), for example, the court denied plaintiff’s TRO
 20
      request because it was premised on events that occurred after and outside of the events
 21
      that gave rise to the complaint. The court ruled that if it were to grant plaintiffs’ TRO
 22
      request, it “would be required to engage in a factual analysis distinct from the analysis
 23
      required by the claims,” which would be improper. Id. (citations omitted); see also,
 24
      e.g., Northern Arapaho Tribe v. LaCounte, Nos. 60-11 & 16-60, 2017 WL 908547, at
 25
      *3 (D. Mont. Mar. 7, 2017) (where TRO motion and complaint “present[ed] distinct
 26
      facts and address distinct governing statutes and regulations,” TRO motion fell “beyond
 27
      the scope of either Complaint in this consolidated action.”); Clark v. Bank of Am. N.A.,
 28

                                                - 17 -
                                    Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 22 of 30 Page ID
                                 #:5479



  1 No. 14-14-232, 2015 WL 1433834, at *8 (D. Idaho Mar. 27, 2015) (declining to
  2 consider TRO or preliminary injunction request raising “new arguments” that related
  3 broadly to the mortgage-centered conduct at the heart of complaint, but raised new,
  4 specific allegations).
  5        The Court should reject the TRO request for the same reasons. Plaintiffs’ TRO
  6 motion rests on events that occurred after and outside of events giving rise to the
  7 complaint. The complaint in this case has nothing to do with ORR’s response to
  8 infectious disease or COVID-19. It does not assert that ORR’s response to this crisis is
  9 inappropriate or inadequate under the TVPRA or the Constitution. And it does not lay
 10 out facts to establish that the response is improper or inadequate. And because of that,
 11 there was never any assessment of whether this Court could properly define or certify a
 12 class to address such concerns through class remedies. The complaint makes only
 13 general claims about the treatment and care of children, which cannot properly give rise
 14 to either a certification order or class-wide injunctive relief addressing COVID-19. See
 15 Compl. ¶ 189-90 (“As a matter of policy and practice, Defendants unreasonably and
 16 unnecessarily delay or refuse to release children to [proposed custodians]”). Similarly,
 17 the class was certified to address timing-based concerns about release; it was not
 18 certified to address requirements imposed by the TVPRA or the Due Process Clause on
 19 release relating to COVID-19 or concerns related to the spread of infectious diseases.
 20 See ECF No. 126 at 16-17 (certifying class where “ORR is refusing or will refuse to
 21 release to parents or other available custodians within thirty days of the proposed
 22 custodian’s submitting a complete family reunification packet on the ground that the
 23 proposed custodian is or may be unfit”).
 24        Plaintiffs’ TRO request bears no relationship to the ground for relief in the
 25 complaint or the basis for this Court’s class-certification order. The complaint and the
 26 certified class challenge purported refusals to release minors to otherwise suitable
 27 sponsors within thirty days of receipt of a completed Family Reunification Packet, and
 28 the prayer for relief makes no mention of dramatically altering the standard governing

                                               - 18 -
                                  Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 23 of 30 Page ID
                                 #:5480



  1 release under the TVPRA for sponsors due to a global pandemic. And there is no nexus
  2 to the purported lack of process in sponsor denial adjudication alleged in the complaint
  3 and the TRO’s request for a mass release of hundreds of children to individuals who
  4 have not been properly vetted and have not shown they will be safe sponsors under the
  5 standards of the TVPRA. The newly alleged relief sought here must be sought, if at all,
  6 in a new complaint, not shoehorned into the existing one by requesting administrative
  7 hearings that are entirely inappropriate in a time of strained agency resources devoted
  8 to combatting the pandemic. And any class-wide relief would need to be sought based
  9 on such a complaint and only after Plaintiffs establish that they satisfy the rigorous
 10 requirements imposed by Rule 23.
 11        For scope reasons alone, Plaintiffs lack a likelihood of success on the merits.
 12           4.   Plaintiffs Fail to Show a Due-Process Violation
 13        As explained above, due-process claims relating to conditions and release for
 14 minors in ORR care were resolved in Flores, and any claim regarding enforcement of
 15 that Agreement would need to be raised in that matter under the terms set forth in the
 16 Flores Agreement. In any event, ORR’s extensive and comprehensive response to
 17 COVID-19 satisfies the Due Process Clause. Plaintiffs’ arguments to the contrary, Br.
 18 18-22, lack merit.
 19        Due process requires ORR to provide Plaintiffs with adequate medical care and
 20 safe conditions. See Reno v. Flores, 507 U.S. 292 (1993). And due process bars the
 21 government from acting with deliberate indifference to a known or obvious danger.
 22 Patel v. Kent Sch. Dist., 648 F.3d at 971-72 (quoting L.W. v. Grubbs, 92 F.3d 894, 900
 23 (9th Cir. 1996)). Deliberate indifference is a high bar and recognizes the discretion of
 24 caregivers to make appropriate treatment decisions—prior cases have explained that it
 25 could be met when a caregiver denies access to medical care, interferes with treatment,
 26 or fails to respond to a child’s medical needs. Estelle v. Gamble, 429 U.S. 971, 104-05
 27 (1976).
 28

                                              - 19 -
                                  Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 24 of 30 Page ID
                                 #:5481



  1        ORR has taken extensive measures to address the risks that COVID-19 could
  2 present to the UACs in its case. ORR has implemented a number of heightened safety
  3 precautions to ensure minors in its custody are not exposed to COVID-19 and that
  4 should those precautions not succeed, minors would receive the proper medical care.
  5 To prevent infection, ORR guidance to its network of care providers requires any UAC
  6 exhibiting symptoms consistent with COVID-19, such as coughing, fever, or difficulty
  7 breathing, at any point during their time in ORR care, to be immediately isolated and
  8 referred for evaluation by a licensed medical provider, in consultation with the local
  9 health authority. Ex. Q ¶ 22. Temperature checks are taken twice a day for UACs in
 10 care, with temperatures over 100 degrees requiring elevation to ORR, and visitors may
 11 not enter shelters who exhibit any of the above symptoms. Ex T. Further, if a UAC is
 12 recommended for testing by the health care provider or public health department, the
 13 UAC will receive testing. Ex. Q ¶ 23. ORR has also initiated telehealth capabilities in
 14 California and New York to ensure care provider facilities are able to provide UAC
 15 with access to medical care without having to leave their facilities. Id. ¶ 34. And for
 16 the rare cases where a UAC becomes infected with COVID-19, like the four children at
 17 the one NY shelter above, full medical quarantine is available for the other children in
 18 care, and the child is guaranteed to receive appropriate medical treatment. Id. ¶ 35; ORR
 19 Guide § 3.4.6.
 20        Plaintiffs cite no evidence that ORR has acted with deliberate indifference to the
 21 impact of the COVID-19 pandemic on UACs in care. And the response shows that
 22 ORR has been extremely active and diligent. ORR provided initial COVID-19 guidance
 23 to the entire UAC care-provider network on March 2, 2020. Ex. R. It provided
 24 additional guidance on COVID-19 to the entire UAC care-provider network on March
 25 19, 21, and 23. Ex. R-W. The mere fact that minors remain in congregate care while
 26 ORR attempts to safely and expeditiously reunify them with a qualified sponsor does
 27 not show that ORR has either failed to provide appropriate medical care required under
 28 the Due Process Clause, or that ORR is deliberately indifferent. Plaintiffs therefore

                                               - 20 -
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 25 of 30 Page ID
                                 #:5482



  1 cannot prevail in the due process claims either as alleged in the complaint or as
  2 reiterated in the TRO and as applied to medical care and treatment.
  3         Given these points, there is no basis to Plaintiffs’ argument that ORR has failed
  4 to provide reasonable protections from the risks presented by the COVID-19 pandemic.
  5 Br. 18-19. Nor is there any merit to Plaintiffs’ claim that ORR is subjecting the UACs
  6 at issue to “conditions that amount to punishment” or that are “excessive.” Br. 19; see
  7 also Br. 19-20. As shown by the steady stream of guidance issued by ORR to address
  8 COVID-19 for its population in care, Ex. R-W, ORR’s protocol for combatting the
  9 pandemic is calculated and calibrated to address the risk here—it is not excessive or
 10 unjustifiable as Plaintiffs claim.
 11         Finally, Plaintiffs contend that ORR’s failure to release the UACs at issue more
 12 rapidly violates procedural-due-process requirements for all UACs with an identified
 13 sponsor, even if the sponsor is distantly or unrelated to the child. See Br. 20-22. But
 14 Congress did not provide these rights under the TVPRA, and the Supreme Court has
 15 already held that such a hearing is not required by the Due Process Clause, when
 16 ”institutional custody (despite the availability of responsible private custodians) is not
 17 unconstitutional in itself.” See Reno, 507 U.S. at 303. For the reasons explained above,
 18 supra 18-19, ORR’s medical care for its UAC population during this time of pandemic
 19 fully comports with the Due Process clause, and thus, Plaintiffs’ procedural Due Process
 20 claims similarly fail.
 21         5.       Plaintiffs Fail to Show That Their Requested Relief Will Mitigate
                     Risk of Harm from COVID-19
 22
            Plaintiffs’ request for relief is barred for another independent reason: Plaintiffs’
 23
      alleged injury—that they are subject to being exposed to COVID-19 due to their
 24
      placement in congregate care—will not be redressed by ordering their release on an
 25
      expedited basis to potential sponsors who have not yet been vetted. “Redressability
 26
      requires an analysis of whether the court has the power to right or to prevent the claimed
 27
      injury.” Gonzales v. Gorsuch, 688 F.2d 1263, 1267 (9th Cir. 1982) (Kennedy, J.). For
 28

                                                - 21 -
                                    Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 26 of 30 Page ID
                                 #:5483



  1 standing purposes, a plaintiff’s injury is redressable where there is “a ‘substantial
  2 likelihood’ that the requested relief will remedy the alleged injury.” Vermont Agency of
  3 Nat’l Res. v. United States ex rel. Stevens, 529 U.S. 765, 771 (2000) (citation omitted).
  4 Plaintiffs have not carried their burden of showing that their desired relief—expedited
  5 release from ORR custody based on improperly overriding the TVPRA standard—will
  6 likely diminish their risk of exposure to COVID-19.
  7        Notably, Plaintiffs do not articulate how release into communities or to sponsors
  8 who may already be exposed to COVID-19 will reduce the likelihood that the released
  9 minors will be exposed to or contract COVID-19. And in contrast to ORR’s careful
 10 procedures for protecting against COVID-19 transmission, Plaintiffs do not explain
 11 how a massive number of expedited releases will safely occur. They offer no discussion
 12 of how to safely transport children from a facility that does not yet have a single case
 13 of COVID-19 into homes and communities that cannot make the same representation
 14 to justify class-wide relief. They have not addressed the reality that the situation is
 15 vastly different in different parts of the country, and to the contrary, ORR is taking that
 16 into account in managing its many grantees and placements with grantees. Ex. Q ¶ 32.
 17 Indeed, granting Plaintiffs’ proposed TRO could even increase children’s risk of
 18 exposure to COVID-19. ORR should be permitted to fulfill its statutory mandate of
 19 assessing whether releasing a child would be safe under all the circumstances, and a
 20 blanket order requiring releases on a set timeframe would be the opposite of helping to
 21 mitigate risks posed by the COVID-19 pandemic.
 22        Moreover, ORR provides medical care at no cost of children in its custody,
 23 including Plaintiffs. Ex. Q ¶ 45. By reason of their placement in ORR facilities,
 24 Plaintiffs have greater access to robust medical care than does the general public. See
 25 id.; ORR Guide § 3.4.6. Aside from the increased risk of placing vulnerable children
 26 with un-vetted sponsors, ordering their release from ORR grantee care providers would
 27 leave these children without their present access to health care and could put Plaintiffs
 28 at greater risk should they contract COVID-19; at a minimum, ORR must be permitted

                                               - 22 -
                                   Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 27 of 30 Page ID
                                 #:5484



  1 to assess whether proposed sponsors are able to provide adequate medical care.
  2 Additionally, transporting unexposed children via airlines to affect unification would
  3 increase their risk of exposure—the very harm Plaintiffs fear.
  4        B. Considerations of Harm and the Equities Cut Against a TRO
  5         Plaintiffs’ TRO request fails on the remaining injunctive factors as well.
  6         Plaintiffs fail to establish irreparable injury. An injunction is “unavailable absent
  7 a showing of irreparable injury, a requirement that cannot be met where there is no
  8 showing of any real or immediate threat that the plaintiff will be wronged []—a
  9 ‘likelihood of substantial and immediate irreparable injury.” Los Angeles v. Lyons, 41
 10 U.S. 95, 111 (1983).       Plaintiffs contend that detaining the children at issue “in
 11 congregate facilities that are inherently unsafe in the midst of the COVID-19 pandemic
 12 rather than releasing them to available custodians violates both substantive and
 13 procedural due process.” Br. 18. But Plaintiffs’ view fails to account for the measures
 14 that ORR has put into place (and will continue to put into place) to protect the children
 15 committed to its care. As discussed above, ORR has deployed extensive resources and
 16 efforts to address the harms that Plaintiffs claim. Given these measures in particular,
 17 Plaintiffs have not established that residing at an ORR grantee care provider facility
 18 increases risk to UACs of exposure to COVID-19 or presents a sufficient likelihood of
 19 irreparable harm. Moreover, many ORR grantee care provider facilities are currently
 20 far below capacity, which better enables social distancing. Ex. Q, ¶ 13-14. Notably,
 21 States continue to consider congregate care facilities essential. 2 Plaintiffs have not
 22 shown that Defendants are unprepared to respond to COVID-19 infections in specific
 23 grantee care facilities, let alone that they are unprepared to do so on a nationwide basis.
 24 Indeed, as shown above, ORR has robust procedures in place to protect children from
 25 the disease and provide any needed medical treatment. Further, the CDC indicates that
 26 “children do not appear to be at higher risk for COVID-19 than adults; . . . adults make
 27
      2
 28     See, e.g., https://www.gnyha.org/news/executive-order-identifies-essential-health-
      care-operations/
                                                - 23 -
                                    Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 28 of 30 Page ID
                                 #:5485



  1 up most of the known cases to date.”3 Plaintiffs are not entitled to immediate release to
  2 un-vetted applicant sponsors or to a transfer in facilities based on a conjectural injury
  3 that defies the known facts. As to the equities, the public interest favors not disturbing
  4 ORR’s careful and adaptable response to this situation, especially where release
  5 threatens the public interest and increases health risks to the very children who Plaintiffs
  6 purport to help.
  7           Finally, Plaintiffs have not satisfied the standard for a mandatory injunction.
  8 “Where a party seeks mandatory preliminary relief that goes well beyond maintaining
  9 the status quo pendent lite, courts should be extremely cautious about issuing a
 10 preliminary injunction.” Martin v. Int’l Olympic Comm., 740 F.2d 670, 675 (9th Cir.
 11 1984); see also Committee of Cent. Am. Refugee v. INS, 795 F.2d 1434, 1442 (9th Cir.
 12 1986). For mandatory preliminary relief to be granted, the plaintiff “must establish that
 13 the law and facts clearly favor [the plaintiff’s] position.” Garcia v. Google, Inc., 786
 14 F.3d 733, 740 (9th Cir. 2015) (emphasis in original). That is, the showing necessary to
 15 obtain an injunction that alters the status quo is higher than the showing necessary to
 16 merely preserve the status quo. See, e.g., id. Plaintiffs fall far short of making the
 17 necessary showing—their TRO motion is beyond the scope of the facts alleged in the
 18 complaint, it is unripe, it is not based on a class certified for the claims that Plaintiffs
 19 now make, it fails to show a likelihood of success on the merits, it fails to show
 20 irreparable injury, and it fails to show that the balance of the public interest factors
 21 favors them. Plaintiffs have failed to show that the facts and law “clearly favor” their
 22 position, so as to justify a mandatory injunction.
 23 IV.         CONCLUSION
 24           In consultation with a host of federal, state, and local public health authorities,
 25 ORR is working day and night to reduce the risk to UACs posed by COVID-19, while
 26 complying with ORR’s statutory mandate to release these children to safe sponsors as
 27
 28   3
          https://www.cdc.gov/coronavirus/2019-ncov/faq.html
                                                 - 24 -
                                     Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 29 of 30 Page ID
                                 #:5486



  1 soon as it is safe to do so. Plaintiffs’ requested TRO would cause the agency to violate
  2 the TVPRA, undercut the agency’s prodigious efforts, and increase the risk of harm to
  3 these children. The Court should deny the TRO motion.
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                              - 25 -
                                  Defendants’ Opposition to TRO
Case 2:18-cv-05741-DMG-PLA Document 230 Filed 03/27/20 Page 30 of 30 Page ID
                                 #:5487



  1 DATED: March 27, 2020                             Respectfully submitted,
  2       JOSEPH H. HUNT
  3       Assistant Attorney General
          Civil Division
  4
  5       SCOTT G. STEWART
  6       Deputy Assistant Attorney General
          AUGUST E. FLENTJE
  7       Special Counsel
  8
          BY: /s/ Ernesto H. Molina, Jr.
  9
          ERNESTO H. MOLINA
 10       JEFFREY S. ROBINS
 11       Deputy Directors,
          Office of Immigration Litigation
 12
 13       BENJAMIN MARK MOSS
          W. DANIEL SHIEH
 14       Senior Litigation Counsel
 15
 16
          MARINA C. STEVENSON
          ANTHONY J. MESSURI
 17       JONATHAN K. ROSS
          Trial Attorneys
 18       Office of Immigration Litigation
 19       Civil Division
          U.S. Department of Justice
 20       P.O. Box 878, Ben Franklin Station
 21       Washington, DC 20044
          Telephone: (202) 616-9344
 22
          Facsimile: (202) 305-1890
 23       Email: Ernesto.H.Molina@usdoj.gov
 24
          Attorneys for Defendants
 25
 26
 27
 28

                                             - 26 -
                                Defendants’ Opposition to TRO
